JS 44C/SDNY Case 1:20-cv-04884-JMF GgrusaveresHebe 06/25/20 Page 1 of 2

REV. 06/01/17
The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
other papers as required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the
United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.

PLAINTIFFS DEFENDANTS
Jordy Peralta The City of New York, Police Officer Brandon Gembecki, and Police Officers

John Doe 1 through John Doe 3

ATTORNEYS (FIRM NAME, ADDRESS, AND TELEPHONE NUMBER ATTORNEYS (IF KNOWN)
Brian L. Bromberg, Joshua Tarrant-Windt, Bromberg Law Office, P.C., 26

Broadway 27th Floor, NY, NY 10004, 212-248-7906; Jonathan A. Fink, Fink
& Katz, PLLC, 299 Broadway, Suite 1803, NY, NY 10017, 212-385-1373

CAUSE OF ACTION (CITE THE U.S. CIVIL STATUTE UNDER WHICH YOU ARE FILING AND WRITE A BRIEF STATEMENT OF CAUSB
(DO NOT CITE JURISDICTIONAL STATUTES UNLESS DIVERSITY)

This action is under 42 U.S.C. § 1983 for violations of the Fourth, Fifth and Fourteenth Amendments to the U.S. Constitution.

Judge Previously Assigned
Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time? No VlYesZ

If yes, was this case Vol.[] Invol. [|] Dismissed. No[_] Yes [[] If yes, give date & Case No.
Is THIS AN INTERNATIONAL ARBITRATION CASE? No [x] Yes LC]
(PLACE AN [x] IN ONE BOX ONLY) NATURE OF SUIT
TORTS ACTIONS UNDER STATUTES
CONTRACT PERSONAL INJURY PERSONAL INJURY FORFEITURE/PENALTY BANKRUPTCY OTHER STATUTES
L 1367 HEALTHCARE/
[1110 INSURANCE [ 1310 AIRPLANE PHARMACEUTICAL PERSONAL | 695 DRUG RELATED [ ]422 APPEAL [ 1375 FALSE CLAIMS
[ ]120 MARINE [ ]315 AIRPLANE PRODUCT INJURY/PRODUCT LIABILITY seize OF PROPERTY 28 USC 158 [ 1376 QUI TAM
[ 1130 MILLER ACT LIABILITY [ ]365 PERSONAL INJURY 21 USC B81 [ 1423 WITHDRAWAL [ ]400 STATE
[ 1140 NEGOTIABLE [ ]320 ASSAULT, LIBEL & PRODUCT LIABILITY 1 1690 OTHER 28 USG 157 REAPPORTIONMENT
INSTRUMENT SLANDER [ 1368 ASBESTOS PERSONAL [ 1410 ANTITRUST
[ ]150 RECOVERY OF __[ ] 380 FEDERAL INJURY PRODUCT [ 1430 BANKS & BANKING
OVERPAYMENT & EMPLOYERS’ LIABILITY PROPERTY RIGHTS [ ]450 COMMERCE
ENFORCEMENT LIABILITY [ ]460 DEPORTATION
OF JUDGMENT —[ 1340 MARINE PERSONAL PROPERTY [ ]820 COPYRIGHTS [ ]470 RACKETEER INFLU-
[ 1151 MEDICARE ACT __[ ]345 MARINE PRODUCT [ 1830 PATENT ENCED & CORRUPT
[ 1152 RECOVERY OF LIABILITY [ 1370 OTHER FRAUD _ ORGANIZATION ACT
DEFAULTED | ]350 MOTOR VEHICLE [1371 TRUTH IN LENDING | 1835 PATENT-ABBREVIATED NEW DRUG APPLICATION (RICO)
STUDENT LOANS [ ]355 MOTOR VEHICLE [ ]840 TRADEMARK [ ]480 CONSUMER CREDIT
(EXCL VETERANS) PRODUCT LIABILITY SOCIAL SECURITY [ 1490 CABLE/SATELLITE TV
[ 1153 RECOVERY OF _[ ] 360 OTHER PERSONAL
OVERPAYMENT INJURY [ ]380 OTHER PERSONAL LABOR [ ]861 HIA (1395Ff) [ ] 850 SECURITIES/
OF VETERAN'S — [ ]362 PERSONAL INJURY - PROPERTY DAMAGE [ 1862 BLACK LUNG (923) COMMODITIES/
BENEFITS MED MALPRACTICE [ ]385 PROPERTY DAMAGE _[ ]710 FAIR LABOR [ 1863 DIWC/DIWW (405(g)) EXCHANGE
[ ]160 STOCKHOLDERS PRODUCT LIABILITY STANDARDS ACT [ ]864 SSID TITLE XVI
SUITS [ 1720 LABOR/MGMT [ 1865 RSI (405(g))
[ ]190 OTHER PRISONER PETITIONS RELATIONS [ ]890 OTHER STATUTORY
CONTRACT [ ]463 ALIEN DETAINEE [ ]740 RAILWAY LABOR ACT ACTIONS
[ 1195 CONTRACT [ ]510 MOTIONS TO I] 751 FAMILY MEDICAL FEDERAL TAX SUITS [ ]891 AGRICULTURAL ACTS
PRODUCT ACTIONS UNDER STATUTES VACATE SENTENCE | cave ACT (FMLA)
LIABILITY 28 USC 2255 [ ]870 TAXES (U.S. Plaintiff or
[ ]196 FRANCHISE CIVIL RIGHTS [ ]530 HABEAS CORPUS [ ] 790 OTHER LABOR Defendant) [ ]893 ENVIRONMENTAL
[ 1535 DEATH PENALTY LITIGATION [ ]871 IRS-THIRD PARTY MATTERS
[ 1540 MANDAMUS & OTHER _[ ]791 EMPL RET INC 26 USC 7609 [ ]895 FREEDOM OF
bd 440 NonPiona) SECURITY ACT (ERISA) INFORMATION ACT
REAL PROPERTY [ ] 896 ARBITRATION
[ 1441 VOTING IMMIGRATION [ ] 899 ADMINISTRATIVE
[ ]210 LAND [ 1442 EMPLOYMENT PRISONER GIVIL RIGHTS
CONDEMNATION — [ ]443 HOUSING/ | 1462 NATURALIZATION PROCEDURE ACT/REVIEW OR
[ 1220 FORECLOSURE (144s [ACCOMMODATIONS [ ] 550 CIVIL RIGHTS APPLICATION APPEAL OF AGENCY DECISION
[ 1230 RENT LEASE & [ ]555 PRISON CONDITION __[ ] 465 OTHER IMMIGRATION
EJECTMENT DISABILITIES - [ ] 560 CIVIL DETAINEE ACTIONS ee Soe yree NALITY oF
[ ]240 TORTS TO LAND EMPLOYMENT CONDITIONS OF CONFINEMENT
[ 1245 TORT PRODUCT [ ]446 AMERICANS WITH
LIABILITY DISABILITIES -OTHER
[ ]290 ALL OTHER [ ] 448 EDUCATION
REAL PROPERTY

Check if demanded in complaint:
DO YOU CLAIM THIS CASE IS RELATED TO A CIVIL CASE NOW PENDING IN S.D.N.LY.

 

 

 

 

CHECK IF THIS IS ACLASS ACTION AS DEFINED BY LOCAL RULE FOR DIVISION OF BUSINESS 13?
UNDER F.R.C.P. 23 IF SO, STATE:
DEMAND § OTHER JUDGE DOCKET NUMBER

 

Check YES only if demanded in complaint
JURY DEMAND: El Yes LNO NOTE: You must also submit at the time of filing the Statement of Relatedness form (Form IH-32).
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(PLACE AN x IN ONE BOX ONLY) ORIGIN
[X] 4 Original [-]2 Removed from [_]3 Remanded [14 Reinstatedor [] 5 Transferred from [] 6 Litigation C17 ‘eget
Proceeding State Court from Reopened (Specify District) (Transferred) Magistrate Judge

Appellate
| a. all parties represented Court

L] b. Atleast one party

| 8 Multidistrict Litigation (Direct File)

is pro se.
(PLACE AN x IN ONE BOX ONLY) BASIS OF JURISDICTION IF DIVERSITY, INDICATE
[11U.S. PLAINTIFF [2 U.S. DEFENDANT [X] 3 FEDERAL QUESTION 14 DIVERSITY CITIZENSHIP BELOW.

(U.S. NOT A PARTY)

CITIZENSHIP OF PRINCIPAL PARTIES (FOR DIVERSITY CASES ONLY)

(Place an [X] in one box for Plaintiff and one box for Defendant)

PTF DEF PTF DEF PTF DEF

CITIZEN OF THIS STATE []1 []1 CITIZEN OR SUBJECT OF A [13113 INCORPORATED and PRINCIPAL PLACE []5 []5
FOREIGN COUNTRY OF BUSINESS IN ANOTHER STATE

CITIZEN OF ANOTHER STATE []2 []2 INCORPORATED or PRINCIPAL PLACE [ ]4[ ]4 FOREIGN NATION [16 []6

OF BUSINESS IN THIS STATE

PLAINTIFF(S) ADDRESS(ES) AND COUNTY(IES)
Jordy Peralta

2540 Valentine Avenue, Apt. 3

Bronx, NY 10458

DEFENDANT(S) ADDRESS(ES) AND COUNTY(IES)
City of New York

Corporation Counsel of the City of New York
100 Church Street

New York, NY 10007

New York County

DEFENDANT(S) ADDRESS UNKNOWN

REPRESENTATION IS HEREBY MADE THAT, AT THIS TIME, | HAVE BEEN UNABLE, WITH REASONABLE DILIGENCE, TO ASCERTAIN
THE RESIDENCE ADDRESSES OF THE FOLLOWING DEFENDANTS:

Police Officer Brandon Gembecki and Police Officers John Doe 1 through John Doe 3

COURTHOUSE ASSIGNMENT
| hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or 21.

Check one: THIS ACTION SHOULD BE ASSIGNED TO: ~=[_] WHITE PLAINS [x] MANHATTAN

DATE 6/25/2020 —_ SIGNATURE OF ATTORNEY OF RECORD ADMITTED TO PRACTICE IN THIS DISTRICT
recEipT # /S/ Joshua Tarrant-Windt MomeyGerCode# Mo.05 _ Yr. 2016 _)
Magistrate Judge is to be designated by the Clerk of the Court.

Magistrate Judge is so Designated.

 

Ruby J. Krajick, Clerk of Court by Deputy Clerk, DATED

UNITED STATES DISTRICT COURT (NEW YORK SOUTHERN)
